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                               THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND
                                        Greenbelt Division

    THE DISTRICT OF COLUMBIA and
    THE STATE OF MARYLAND,

                                           Plaintiffs,

           v.
                                                                         Civil Action No. 8:17-cv-01596-PJM
    DONALD J. TRUMP, President of the United
    States of America, in his official and in his
    individual capacity,

                                           Defendants.

                              STATEMENT PURSUANT TO F.R.C.P. 26(f)

          On Thursday, September 6, 2018, counsel for Plaintiffs met with counsel for Defendant

President Trump in his official capacity and counsel for President Trump in his individual capacity.

The parties submit the following statement, pursuant to Rule 26(f) of the Federal Rules of Civil

Procedure, regarding the topics discussed at that conference. Plaintiffs do not believe that a

scheduling conference is necessary at this time and respectfully request that the Court enter a

scheduling order that includes the discovery deadlines listed in Part II.B.2. The President in his

official capacity requests that the Court first convene a scheduling conference before issuing a

scheduling order.1




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  The President’s motion to dismiss the claims asserted against him in his individual capacity remains pending before
the Court. See Dkt. No. 112. Until a decision is made on that order, no discovery plan is required of the President in
his individual capacity, and the parties all agree that no discovery of the President in his individual capacity shall take
place before a decision on that motion. If the pending motion to dismiss is denied, the President in his individual
capacity reserves the right to revisit deadlines and other provisions of this order. For the sake of mutual efficiency,
counsel for the President in his individual capacity has agreed to participate in limited fashion to provide input on
certain aspects of the discovery that will likely apply to all future proceedings (such as the terms of a protective order
or scope of any privilege logs).
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I.     Nature of Claims and Defenses

       A.      Plaintiffs’ Statement
       Plaintiffs the District of Columbia and the State of Maryland allege that President Donald

J. Trump, in his official capacity and in his individual capacity, is violating the Foreign and

Domestic Emoluments Clauses of the U.S. Constitution due to his receipt of foreign, state, and

domestic governmental funds at the Trump International Hotel in Washington, D.C., and its

appurtenances (“Hotel”), including the restaurant, BLT Prime (“Restaurant”).

       Plaintiffs seek a declaratory judgment that President Trump has violated and is continuing

to violate the Foreign and Domestic Emoluments Clauses. Plaintiffs further seek injunctive relief

enjoining President Trump from violating the Foreign and Domestic Emoluments Clauses.

       B.      Statement of the President in his official capacity
       The President, in his official capacity, argues that Plaintiffs lack standing to pursue their

claims, that they lack a cause of action under the Emoluments Clauses, that the Court lacks

jurisdiction to grant the equitable relief requested against the President in his official capacity, and

that Plaintiffs have failed to state a claim upon which relief can be granted.

II.    Discovery Plan

       A.      Initial Disclosures
       The parties agree that the disclosures required by Rule 26(a)(1)(A) need not be made until

October 19, 2018.

       B.      Subjects and Scheduling of Discovery

               1.      Subjects for Discovery
       Plaintiffs’ Statement: Plaintiffs plan to focus discovery primarily on third parties. Much of

this discovery will be directed at the third-party entities that own, control, and manage the Hotel
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and Restaurant. Plaintiffs are currently aware of approximately a dozen relevant entities, which

are among the entities listed on the List of Entities to Receive Preservation Subpoena (Doc. 43-1).

Plaintiffs anticipate the need for document discovery from and depositions of these entities to

determine (1) the circumstances surrounding, and the extent of, funds from foreign and domestic

governments received by the Hotel and Restaurant; (2) the steps the Hotel and/or Restaurant have

taken to attract business from foreign, domestic, and/or state governments; (3) the ownership and

management structure of the Hotel and the Restaurant; (4) the flow of funds from the Hotel and

the Restaurant to the Donald J. Trump Revocable Trust and the payment, and the calculation of

the amount of, any such funds to the United States government; (5) President Trump’s receipt of

funds from the Donald J. Trump Revocable Trust or receipt of funds from the Hotel and Restaurant

though any other method; (6) the Hotel and Restaurant’s pricing, facilities, services, reputation,

and competitive analyses; and (7) the circumstances surrounding the Hotel’s lease and relevant

communications with the General Services Administration.

       In addition, Plaintiffs anticipate the need for discovery of third parties unrelated to the

Trump Organization. This will likely include discovery from hotels, restaurants, and event spaces

located in the District of Columbia and Maryland that may compete with the Hotel and Restaurant;

discovery from foreign and domestic government entities that may have spent governmental funds

at the Hotel and Restaurant; and document discovery from banks and other financial institutions

that may be necessary to gain a full picture of the Hotel’s and Restaurant’s finances. Plaintiffs will

further seek discovery from the General Services Administration regarding the Hotel’s lease and

discovery from the U.S. Department of Treasury regarding any payments from the Trump

Organization that purport to consist of proceeds from governmental business.
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       To the extent that either of the Defendants designates one or more expert witnesses,

Plaintiffs anticipate that expert discovery will be necessary.

       Plaintiffs may also seek limited discovery from President Trump in his official capacity on

the subject of his communications with foreign, state, and domestic government officials regarding

the Hotel and/or Restaurant. At this point, Plaintiffs plan to pursue the alternative sources of

discovery described above prior to seeking discovery directly from the President in his official

capacity. Moreover, if Plaintiffs ultimately determine that seeking discovery from the President

is necessary, they expect that this Court will exercise its sound discretion to “properly manage[]”

such discovery to avoid any undue burden on the President and to appropriately account for the

“high respect that is owed to the office of the Chief Executive.” Clinton v. Jones, 520 U.S. 681,

702, 707 (1997).

       The parties have agreed that discovery against the Defendant in his individual capacity

shall not commence while the Motion to Dismiss is pending. Should the Motion to Dismiss be

denied, Plaintiffs may seek limited discovery from President Trump in his individual capacity.

       Defendant’s Statement (Official Capacity): The President, in his official capacity, has

moved for certification of the Court’s March 28 and July 25, 2018 Orders for interlocutory appeal

pursuant to 28 U.S.C. § 1292(b) and for a stay of proceedings pending appeal. See ECF No. 127.

Accordingly, the President believes that in the interest of conserving the Court’s and the parties’

resources, this Court should first resolve the pending motion for interlocutory appeal.

        The President further states that Plaintiffs should not be permitted to seek discovery

against the President, in his official capacity, including discovery concerning the President’s

communications with representatives of foreign, state, or domestic governments. Civil discovery

against a sitting President in his official capacity necessarily implicates significant separation of
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powers concerns. Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 380–82, 389–90 (2004). The

Supreme Court has made clear that discovery directed to the President in civil litigation should be

strictly circumscribed because of the significant separation of powers concerns that would arise

and the public interest in protecting Presidential confidentiality and ensuring energetic

performance of his constitutional duties. See id. at 381–82. This applies with particular force to

the President’s communications in his official capacity, which in any event would be subject to

the presidential communications privilege. Accordingly, no discovery against the President in his

official capacity should be permitted and the Court’s scheduling order should so state.

       If discovery proceeds in this case, the President anticipates seeking discovery concerning

Plaintiffs’ standing, including but not limited to the following subjects:

       •       Evidence of patronage by foreign, state, and local government representatives and

instrumentalities at establishments in which Plaintiffs have a proprietary interest and whether there

is any evidence of any loss of such government business to the Trump International Hotel in

Washington, D.C.

       •       Financial performance of establishments in which Plaintiffs have a proprietary

interest, including any evidence of a decrease in revenues in government business at these

establishments since January 20, 2017 and whether there is any evidence of a connection between

such decrease in revenue and the President’s financial interest in the Trump International Hotel in

Washington, D.C.

       •       Any evidence supporting Plaintiffs’ alleged competitive injury, including evidence

concerning competitive conditions in the hospitality (hotels, restaurants, and event venues)

markets in the Washington, D.C. metropolitan area.
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        •        Evidence of whether a substantial portion of Plaintiffs’ local economies have been

harmed by the operation of the Trump International Hotel.

        •        Evidence supporting Plaintiffs’ alleged “intolerable dilemma” theory of injury,

including the existence of any evidence of requests for any special regulatory treatment by the

Trump International Hotel in Washington, D.C. and Plaintiffs’ decision making in response to such

request.

                 2.       Discovery Schedule
        As noted above, the President believes that this Court should first rule on his pending

motion for interlocutory appeal pursuant to 28 U.S.C. § 1292 and motion for a stay pending appeal.

Plaintiffs disagree, and believe that if the President believes a stay of discovery pending a ruling

on his motion for interlocutory appeal is appropriate, he should seek such a stay from this Court.

        To the extent that discovery proceeds now, as Plaintiffs believe it should, the parties jointly

propose the following discovery deadlines:

        •    Fact discovery will conclude on March 22, 2019, with all discovery requests to be

             served at least 30 days in advance such that the responses are due on or before March

             22, 2019.

        •    Disclosures of expert witnesses will be due by March 29, 2019.

        •    Expert discovery will conclude May 24, 2019.2

        C.       Treatment of Electronically Stored Information
        The parties believe that an agreement establishing a protocol for the discovery of

electronically stored information (ESI) may be necessary in this matter, but that the necessity and




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  If the Court concludes that discovery should not commence at this time, Plaintiffs request a commensurate extension
to the discovery deadlines proposed above, which contemplate six months for fact discovery and an additional two
months for expert discovery.
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terms of such an ESI protocol are best determined after the parties’ discovery requests are served

and their scope is known. Should the parties determine that an ESI protocol is necessary to

facilitate discovery in this matter, the parties will, at an appropriate time, meet and confer to agree

on the appropriate ESI protocol.

       D.       Claims of Privilege
       The parties intend to meet and confer regarding appropriate privilege log protocols. The

parties further plan to propose a Fed. R. Evid. 502 Order for this Court’s approval similar to the

sample order outlined in Local Rule 104.14. The parties plan to work together to formulate such

an order for the Court’s approval.

       E.       Discovery Limits
       Unless altered by subsequent agreement of the parties or court order, the parties agree that

their discovery requests will be subject to the limits imposed by the Federal Rules of Civil

Procedure and the Local Rules for the United States District Court for the District of Maryland.

       F.       Protective Order
       The parties agree that a protective order is necessary to protect confidential information

produced during discovery. The parties plan to propose a protective order for the Court’s review

shortly.

III.   Possibility of Prompt Settlement or Resolution
       Given the nature of the claims and of the relief sought, the parties do not believe that this

case is susceptible to settlement at this time.
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Dated: September 14, 2018                Respectfully submitted,

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